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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

LOIS RHODES, as the Personal               )
Representative of the Estate of            )
BILLY JOE RHODES                           )
                                           )
       Plaintiff,                          )
                                           )
       v.                                  )    CIV. ACT. NO. 2:19-cv-76-ALB
                                           )
ALLSTATE INSURANCE                         )
COMPANY,                                   )
                                           )
       Defendant.                          )

                                        ORDER

       Upon consideration of the parties’ Joint Stipulation for Dismissal with Prejudice

(Doc. 12) filed on May 15, 2019, which comports with FED.R.CIV.P. 41(a)(1)(A)(ii), this

action has been dismissed with prejudice by operation of Rule 41, on the terms agreed to

and set out by the parties, with costs taxed as paid.

       The Clerk of the Court is DIRECTED to close this case.

       DONE this 16th day of May, 2019.


                                                 /s/ Andrew L. Brasher
                                           ANDREW L. BRASHER
                                           UNITED STATES DISTRICT JUDGE
